Case 4:22-cv-00074-BMM Document 100-6 Filed 08/08/23 Page 1 of 2

FROM -RIEGER-LAW . : FAX NO. 34667559554 Oct. @8 2063 18:27PM P4

495 |lo|
STATE 7 ED
PAl OR! TY ARTICLES OF ORGANIZATION F AE. Bo dv
OF OCT Oo LE 2003
MILK RIVER HUNTING PRESERVE, LLC SECRETARY OF STATE pols

Executed by the undersigned for the purpose of forming a Montana limited
liability company under the Montana Limited Liability Company Act.

i. Name. The name of the limited liability company is:
MILK RIVER HUNTING PRESERVE, LLC

2. Duration. The latest date upon which the limited liability company shill
be dissolved is December 31, 2099.

3. Principal Place of Business, The address of the principal place of
business of the limited liability company in the State of Montana is:

105 Baker Avenue
Whitefish, Montana 59937

4. Registered Office and Agent, The address of the registered office of the
limited liability company is:

4 Meridian Court
Kalispell, Montana 59901

The name of the registered agent at that address is:
Vincent G. Rieger, Esq.

5. Member Managed. The limited liability company will be managed by its
members.

6. Liability of Members. The limited liability company’s members are not
liable for a debt, judgment, obligation or liability of the limited liability company.

7. Members. The names and addresses of the initial members of the limiied
liability company are:
ame Address
Birk A. Scoggins 105 Baker Avenue

Whitefish, Montana 59937

J EXHIBIT

b

tabbies’

Case 4:22-cv-00074-BMM Document 100-6 Filed 08/08/23 Page 2 of 2

FROM = RIEGER-LAW . FAX NO. +4@67559554 Oct. 68 2003 10:28PM PS

Christopher Travis c/o La Paz Professional Center
25200 La Paz Road, Suite 106
Laguna Hills, CA 92653

John Kevin Moore P.O. Box 619
Bigfork, MT 59911

8. Organizer, The name and address of the organizer is:

Name Address
Kirk A. Scoggins 105 Baker Avenue
Whitefish, Montana 59937
DATED: October 8, 2003. o™~
a

Kirk A,Scoggins, Organizer

CONSENT

The undersigned hereby accepts the appointment as registered agent of MILK
RIVER HUNTING PRESERVE, LLC, a Montana limited liability company.

DATED: October 8, 2003.

Lipe-

Vincent G. Rieger, Registered Agent

